
Allen, P.
I concur in the opinion and decree, except so far as it gives to the appellee the right to take a conveyance of the undivided shares of Harris and Clarke, with a deduction from the full amount of the value, equal to the value of Mrs. Branch’s undivided share in the lots. I think the contract was entire, and the appellee should be allowed the option of taking a conveyance of Harris and Clarke and the male appellant Branch in satisfaction of the entire contract, or that his bill should be dismissed, without prejudice to his remedy at law. •
Moncure and Lee, Js. concurred in the opinion of Daniel, J.
The decree was as follows:
The court is of the opinion that the decree of the 19th February 1853 is erroneous, and doth adjudge, &amp;c. that it be reversed with costs, &amp;c. And the cause is remanded to the Circuit court, with instructions to allow the appellee the option of having a decree for a conveyance of the undivided shares of the appellants Harris and Clarke, and of the interest of the appellant David M. Branch in the lots in the bill and proceedings mentioned, on the terms of first paying the sum *116of four hundred dollars, the amount ascertained, by the award of the arbitrators in said bill and proceed- . ings also mentioned, to be the value of said lots, with interest from the 4th day of February 1863 until paid, or a decree for a conveyance of the undivided shares, in said lots, of Harris and Clarke only, on the terms of his first paying so much of said sum with its interest as shall remain after first deducting therefrom so much thereof as the said Circuit court, treating the sum aforesaid as the value of the full estate in said lots, shall ascertain to be the value of Mrs. Branch’s undivided share therein. And in case the appellee shall refuse to avail himself of the option so allowed, to dismiss his bill with costs, without prejudice to his legal rights.
